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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )           8:07CR389
                     Plaintiff,                  )
                                                 )
       vs.                                       )              ORDER
                                                 )
VU TAN HUYNH,                                    )
DARA OUM and                                     )
DARA INN,                                        )
                                                 )
                     Defendants.                 )
       This matter is before the court on the motion to continue by defendant Vu Tan
Huynh (Huynh) (Filing No. 37). Huynh seeks a continuance of the trial of this matter due
to the unavailability of his counsel. For good cause shown, the motion will be granted.
Trial will be continued as to all defendants.


       IT IS ORDERED:
       1.     Huynh’s motion to continue trial (Filing No. 37) is granted.
       2.     Trial of this matter is re-scheduled for February 11, 2008, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
January 9, 2008 and February 11, 2008, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
       DATED this 9th day of January, 2008.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
